                                       Case 4:24-cv-04722-YGR             Document 194      Filed 07/01/25      Page 1 of 3




                                   1

                                   2

                                   3

                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     ELON MUSK, et al.,                                 Case No. 24-cv-04722-YGR (TSH)
                                   8                    Plaintiffs,
                                                                                            DISCOVERY ORDER
                                   9             v.
                                                                                            Re: Dkt. Nos. 180, 191, 192
                                  10     SAMUEL ALTMAN, et al.,
                                  11                    Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          In this case, Plaintiffs Elon Musk and X.AI Corp. sue Defendants Samuel Altman, Gregory

                                  14   Brockman, a bunch of OpenAI entities, two Aestas entities, Deannah Templeton, Reid Hoffman

                                  15   and Microsoft Corp. ECF No. 170 (Second Amended Complaint). The Second Amended

                                  16   Complaint alleges 21 causes of action, but it’s not necessary to discuss them in the context of the

                                  17   current discovery dispute. The district judge has entered a scheduling order that requires the

                                  18   substantial completion of document discovery by July 14, 2025, which is a little less than two

                                  19   weeks from now. Fact discovery is set to close on August 4, 2025, with depositions to be

                                  20   completed by August 18, 2025. Expert reports are due in September, and trial is set for next

                                  21   March. ECF No. 146. This is a schedule that plainly expects the parties to move quickly.

                                  22          A dispute has arisen concerning discovery of Musk’s emails, specifically Musk’s business

                                  23   email accounts from the following entities he controls: Tesla, SpaceX, X Corp., Neuralink,

                                  24   Excession, and the Musk Foundation. Plaintiffs are treating this as third-party discovery and have

                                  25   insisted that the OpenAI Defendants serve subpoenas on these other companies to obtain Musk’s

                                  26   business emails. The OpenAI Defendants report that they have served subpoenas on these entities,

                                  27   but the results have been unsatisfactory. They say Tesla, X Corp., Excession and the Musk

                                  28   Foundation have produced nothing, and that SpaceX and Neuralink have produced no metadata.
                                       Case 4:24-cv-04722-YGR            Document 194        Filed 07/01/25      Page 2 of 3




                                   1          The present dispute arises because the OpenAI Defendants say that treating Musk’s

                                   2   business email accounts at these entities as “third-party discovery” is a category error. They argue

                                   3   this is party discovery, and they are right. Federal Rule of Civil Procedure 34(a)(1) says that a

                                   4   party may request the production of documents from another party that are within that party’s

                                   5   “possession, custody or control.” “Control is defined as the legal right to obtain documents upon

                                   6   demand.” United States v. Int’l Union of Petroleum & Indus. Workers, AFL-CIO, 870 F.2d 1450,

                                   7   1452 (9th Cir. 1989).

                                   8          Here, Musk has control over his business email accounts at these entities because, as his

                                   9   counsel agreed at the hearing, he is a high-level executive at each of these entities. That is

                                  10   sufficient to make his business email accounts at those entities party discovery within the meaning

                                  11   of Rule 34.1 See, e.g., PlayUp, Inc. v. Mintas, 2024 WL 3621449, *4 (D. Nev. Aug. 1, 2024)

                                  12   (“Ample case law has found that a high-level corporate officer has control over corporate
Northern District of California
 United States District Court




                                  13   documents. The law has been particularly clear that a corporate officer is required to produce the

                                  14   emails that the officer herself sent or received. Courts have emphatically rejected the contention

                                  15   that a high-level corporate officer does not have control over corporate documents based on the

                                  16   contention that the documents are ‘owned’ by the corporation.”) (citations omitted); Inland

                                  17   Concrete Enterprises, Inc. v. Kraft Americas LP, 2011 WL 13209239, *3 (C.D. Cal. Feb. 3, 2011)

                                  18   (“[a]n individual party to a lawsuit can be compelled to produce relevant information and

                                  19   documents relating to a non-party corporation of which it is an officer, director or shareholder.”)

                                  20   (citations omitted).

                                  21          The responsibility for timely collecting and producing those emails falls on Musk and his

                                  22   attorneys in this case. There is nothing wrong with the other entities retaining additional lawyers

                                  23   to assist with document review and production, but the obligation to timely produce documents in

                                  24   party discovery rests on the parties and their counsel in this case. Accordingly, the Court

                                  25   ORDERS Musk and his attorneys in this case to produce documents2 from Musk’s business email

                                  26
                                       1
                                  27     This control extends to the metadata fields that are normally part of an email document
                                       production.
                                  28
                                       2
                                         The only issue the Court rules on in this order is whether Musk’s business email accounts with
                                       these other entities (and the associated metadata) count as party discovery. The answer is yes. It
                                                                                          2
                                       Case 4:24-cv-04722-YGR           Document 194        Filed 07/01/25      Page 3 of 3




                                   1   accounts with these entities in compliance with the case schedule, meaning that document

                                   2   production must be substantially complete by July 14, 2025, and the close of fact discovery is

                                   3   August 4, 2025.

                                   4          IT IS SO ORDERED.

                                   5

                                   6   Dated: July 1, 2025

                                   7
                                                                                                    THOMAS S. HIXSON
                                   8                                                                United States Magistrate Judge
                                   9

                                  10

                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18

                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27

                                  28   is possible, of course, that following a diligent document review, it might turn out that Musk’s
                                       email accounts at one or more of these entities do not have any responsive documents.
                                                                                           3
